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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                    )
                                            )
                                            )
v.                                          )       Case No. 22-cr-00070
                                            )
LUCAS DENNEY                                )
                                            )
                       Defendant            )
                                            )



     NOTICE OF WITHDRAWAL OF MOTION TO DISMISS THE COMPLAINT

       And NOW comes defendant, Lucas Denney, by and through his undersigned counsel

hereby tenders this Notice to the Court of Defendant’s intent to withdraw the Motion to Dismiss

filed on March 5, 2022 at EFC 23—Emergency Motion for Release From Custody and

Emergency Motion to Dismiss Case.



Date: March 16, 2022
                                            Respectfully Submitted,



                                            /s/ William L. Shipley
                                            William L. Shipley, Jr., Esq.
                                            (PHV Admitted)
                                            PO Box 745
                                            Kailua, Hawaii 96734
                                            Tel: (808) 228-1341
                                            Email: 808Shipleylaw@gmail.com

                                            Attorney for Defendants




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                               CERTIFICATE OF SERVICE

       I, William L. Shipley, hereby certify that on this day, March 16, 2022, I caused a copy of

the foregoing document to be served on all counsel through the Court’s CM/ECF case filing

system.



                                            /s/ William L. Shipley
                                            William L. Shipley, Jr., Esq.




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